8:01-cr-00273-JFB-FG3           Doc # 264      Filed: 09/27/13      Page 1 of 1 - Page ID # 312




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )    8:01CR273
                                              )
                       vs.                    )    ORDER FOR DISMISSAL
                                              )
JUAN GONZALEZ,                                )
OMAR FRANCISCO REYES,                         )
                                              )
                       Defendants.            )


       Pursuant to Motion of the United States (Filing No. 263), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the

Indictment against JUAN GONZALEZ and OMAR FRANCISCO REYES only.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 263) is granted.

       Dated this 27th day of September, 2013.

                                              BY THE COURT:



                                               s/ Joseph F. Bataillon
                                              United States District Judge
